 

Case 1:22-cr-00298-JB Document 58 Filed 03/23/22 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT FILED

for the
United States District Court

District of New Mexico Albuquerque, New Mexico

 

United States of America ’ Michel LHe
, ) Case No, 22-298 JB Clerk of Court
)
CHADYNE TOHE
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)  CHADYNE TOHE ;

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment © Superseding Indictment Information © Superseding Information © Complaint
QO} Probation Violation Petition CI Supervised Release Violation Petition {J Violation Notice [ Order of the Court

This offense is briefly described as follows:

Count 1: 18 U.S.C. § 1951(a): Interference with Interstate Commerce by Robbery and Violence; 18 U.S.C. § 2: Aiding
and Abetiing;

  

Date: 02/24/2022

 

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City and state: _ Albuquerque, NM = 1 rs. Clerk of Court

\ Pringh d name and title

 

Return

 

n (date) 3/R3/22

This warrant was received e (date) 3/ 22/22 _,and the person was arreste
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at (city and state) Ga ] byo_/.
TF | 7

Date:
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Printed nanke and title

 
  

 

rresting officer’s signature

 

 
